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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

United States of America

      v.                                      2:08-cr-81-21

Justin M. Knisley

                                      ORDER
      There being no objections, the court hereby adopts the Report
and Recommendation of the magistrate judge (Docket No. 650) that
the defendant’s guilty plea be accepted.                The court accepts the
defendant’s     plea    of   guilty    to   Count   2    of   the   superseding
indictment, and he is hereby adjudged guilty on that count.                  The
court will defer the decision of whether to accept the plea
agreement until the sentencing hearing.


Date: March 23, 2009                     s\James L. Graham
                                   James L. Graham
                                   United States District Judge
